Case 4:22-cv-11009-FKB-DRG ECF No. 157-1, PageID.4947 Filed 06/20/25 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN


 ESTATE OF GEORGE BERNARD
 WORRELL, JR.,

        Plaintiff,
                                                Case No. 4:22-cv-11009-FKB-DRG
 vs.                                            District Judge F. Kay Behm
                                                Magistrate Judge David R. Grand
 THANG, INC. and
 GEORGE CLINTON,

       Defendants.




                       INDEX OF EXHIBITS TO
            PLAINTIFF’S MOTION TO COMPEL DEFENDANTS
       TO PAY PLAINTIFF’S EXPERTS FOR DEPOSITIONS NOTICED
                    AND TAKEN BY DEFENDANTS




       1.     4-24-25 to 5-30-25 E-mail chain

       2.     3-20-25 E-mail

       3.     Alan Elliott Invoice and email

       4.     Excerpt of Bob Kohn 11-15-24 Expert Witness Report

       5.     Excerpt of Dr. Ellen Exner, PhD 11-15-24 Expert Witness Report

       6.     Excerpt of Alan Elliott 1-6-25 Rebuttal Report
